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ERNEST P. GIEGER, JR,"2
KENNETH H. LABORDE™?
LAMBERT M. LAPEROUSE!

ROBERT |. SIEGEL"?
ANDREW A, BRAUN?
LEO R. MCALOON 111)?
JOHN E,W. BAay 1129
ANDREW M. ADAMS"?
MARGARET L. SUNKEL'
DANIEL G. RAUH"
RACHEL G. WESRE!'

BRENDAN P. DOHERTY"?

WILLIAM A. BAROUSSE
KRYSTENA L. HARPER?

MICHAEL D. CANGELOSI

TARA E, CLEMENT?

CARSON W. STRICKLAND
ELIZABETH A. CHICKERING
LAUREN C. CANCIENNE?

ERIC C. WALTON
MARK T. MAHFOUZ

GIEGER, LABORDE & LAPEROUSE, L.L.c.

FORTY-EIGHTH FLOOR

ONE SHELL SQUARE MICHAEL E. HILL

A. SIMONE MANUEL
7O!l POYDRAS STREET JAMESON M. TAYLOR
NEW ORLEANS, LOUISIANA 70139-4800 SARAH MILLER JOHNSON?
CHRISTOPHER R. TESKE
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GINA S. MONTGOMERY

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FOCSIMILE (832) 255-6001 2 ALSO ADMITTED IN TEXAS
2 ALSO ADMITTED IN MISSISSIPPI
4 ONLY ADMITTED IN TEXAS
Saiso ADMITTED IN WASHINGTON

May 2, 2011

Writer's E-Mail Address: CSTRICKLAND@GLLLAW.COM
Whiter's Direct Dial Telephone No.: (504) 654-1324

Robert C. Hilliard, Esq.

Kevin W. Gillo, Esq.

719 S. Shoreline Boulevard, Suite 500
Corpus Christi, Texas 78401

Re:

FEMA Trailer Formaldehyde Product Liability Litigation
USDC, EDLA, MDL Ne 09-1873
Our Ref Ne: 0200-24-7

Dear Counsel:

Below please find a list of plaintiffs asserting claims against Forest River, Inc. and/or
Vanguard, LLC for whom no Plaintiff Fact Sheet has been provided. To the extent that these
individuals are represented by your firm, please provide a Plaintiff Fact Sheet for each within
thirty (30) days, or June 1, 2011. In the event these individuals are not represented by your firm,
please notify us in writing of that fact as soon as possible, but in no event later than thirty (30)

days.

09-7857

09-7889

Acker, Chiquita v. Forest River

Brown, Leonard Jeremiah Martin
Jabralyn Martin Keener, Charlotte
Alexander, Rikita v. Forest River

Chad Oubre Moore, Keisha
Dearek Fairley Nguyen, Tran
Excell Dorsette Octavia Nunn
Draughon, Darrell Riley, Ronald
Darrell Draughon Franklin Wells
Lynnard, Paul

tabbies*

EXHIBIT

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GIEGER, LABORDE & LAPEROUSE, L.L.C.

Robert C. Hilliard, Esq.
Kevin W. Gillo, Esq.

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08-5031

10-2324

09-6504

Baker, Susan v. Forest River
Baker, Susan

Collier, Sandy

Covington, Kathleen

Bauer, Belinda v. Liberty Homes
Giavotella, Michele o/b/o L.G

Boutachanthavong, Pear v.

Forest River

Boutachanthavong, Kham Phong
Boutachanthavong, Pear
Boutachanthavong, Phimphone o/b/o A.B.

Bradley, Latoya v. Forest River
Adams, Heather

Alford, Joseph

Alfred, Janice

Arceneaux, Courtney o/b/o Briana Garcia
Arceneaux, Courtney 0/b/o Caitlin Garcia
Arceneaux, Courtney o/b/o Megan Garcia

Arceneaux, Courtney 0/b/o Veronica Garcia

Bardwell, David

Bishop, Charles

Bishop, Sandra

Bishop, Sandra o/b/o Sydney Bishop
Bishop, Sandra o/b/o Taylor Bishop
Blank, Gail

Bosarge, Pamela o/b/o Gregory Bosarge
Boyd, Mark o/b/o Alexis Boyd

Boyd, Mark o/b/o Demarcus Boyd
Bradicich, Dennis

Branger, Peggy

Brown, Edgar

Cannette, Claire

Carver, Evelyn o/b/o Johnie Carver
Courteaux, Jody o/b/o Austin Courteaux
Davenport, Myron

Dillard, William

Esquivel, Beverly o/b/o Christina Esquivel
Fricke, Lance

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Demoll, Terry
Lyons, Becky
Walker, Edward

Boutachanthavong, Phimphone 0/b/o A.B.
Boutachanthavong, Phimphone o/b/o A.K.
Khamphiphone, Isreth

Keel, Kelly o/b/o Zack Keel

Ladner, Leah o/b/o Lane Ladner
Ladner, Leah o/b/o Nathan Ladner
Ladner, Leah o/b/o Shelby Sharlley
Ladner, Lyonie

Ledma, Lulu 0/b/o Chelsea Cuevas
Marek, Ruth o/b/o Abbygayle Lemmon
Marek, Ruth o/b/o Dennis Lemmon
McKay, Theresa o/b/o Tianna Lang
Necaise, Kay

Osterholm, Tammy o/b/o Anna Fields
Page, James

Patterson, Rita o/b/o Kaitlyn Patterson
Poillion, Ashley

Rager, Harry

Robertson, Danielle

Rothwell, Dorothy

Rothwell, Fredrick

Ruffin, Breana

Ruffin, Robert

Ruffin, Robert

Schwartz, Tracy

Schwartz, Tracy 0/b/o Arielle Schwartz
Smith, Donna

Spiers, Regina o/b/o Douglas Spiers
Swicegood, Rick
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GIEGER, LABORDE & LAPEROUSE, L.L.C.

Robert C. Hilliard, Esq.
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09-7072

Green, Ashley

Green, George

Green, Mary

Green, Patricia

Honea, William

Impson, Jon

Jones, Korridon o/b/o Lucas Jones

Burks, Aarien v. Forest River

Adams, Heather 0/b/o Gavin Poillion
Adams, Sheronda o/b/o Mahahia Fairley
Albert, Reyon o/b/o Caydel Albert
Amacker, Challice 0/b/o Jordan Jarrell
Anderson, Jan

Arceneaux, Billy

Bailey, Roxanne

Bailey, Roxannie 0/b/o Amara Bailey
Baptiste, Tiffany

Baptiste, Tiffany o/b/o Racquel Baptiste
Baptiste, Tiffany o/b/o Rashad Baptiste
Baptiste, Tiffany o/b/o Raven Baptiste
Baptiste, Tiffany o/b/o Rayion Scott
Barns, Peggy

Batiste, Arian

Bermond, Annette

Bermond, Christopher

Bermond, Chris 0/b/o Estate of Dalton
Biggs, Raven

Biggs, Raven o/b/o Deljay Bailey
Bolden, Donnell

Bolden, Elizabeth

Bolden, Elizabeth o/b/o Donnell Bolden
Bolden, Kevin

Bright, Juanita

Brimage, Charity

Brimage, Dajanae

Brimage, Deonshae

Brimage, Valecia

Brimage, Valecia o/b/o Keivon Brimage
Brooks, Charmaine 0/b/o Natoreon Wolfe
Brown, Sherman o/b/o Sherman Major
Burks, Aarien o/b/o Aairen Burks

Trawick, Trawick

Trotter-Dedeaux, Kathryn obo Chris Burton
Walters, Ruby

Walton, Barbara obo Jeremiah McDowell
Wilson, Cassey

Wittmann, Michael

Wittmann, Phillip

Leshore, Avery

Leshore, Torie

Leshore, Torie o/b/o Tamerra Leshore
Leshore, Torie 0/b/o Teara Leshore
Loper, Sarah

Loper, Sarah 0/b/o Sharmaine Loper
Lucas, Clarence

Luton, Aaron

Mallini, Anthony o/b/o Anthony Mallini
Mallini, Anthony o/b/o Ashley Mallini
Mallini, Anthony o/b/o Katherine Mallini
McNair, Kimberly o/b/o Cameron McNair
Mistretta, Jessica

Mistretta, Jessica o/b/o Jayde Halia
Mistretta, Jessica o/b/o Jolee Williams
Mitchell, Ethel

Mitchell, Yvonne

Moody, Johnna

Moody, Johnna o/b/o Tristan Tyner
Moore, Brenda

Moore, Charles

Moore, Charod

Moore, Daniel

Moore, Derrick

Moore, Derrick o/b/o DeAysia Moore
Moore, Emma

Moore, Eric

Moore, Lakeshia

Moore, Sammie

Nguyen, May o/b/o Bobby Vo
Nguyen, May o/b/o Brian Vo

Nunn, Shana

Ordone, Terrence o/b/o Grace Ordone
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Robert C. Hilliard, Esq.
Kevin W. Gillo, Esq.

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Burks, Aarien o/b/o Adrianna Burks
Burks, Aarien o/b/o D'Asia Burks
Burton, Antonio

Byrd, Jennifer

Carbo, Danielle

Cuevas, Jearlene

Cuevas, Theofield

Dallas, Christine

Dedeaux, Marietta

Dedeaux, Marietta 0/b/o Joshua Dedeaux
Dedeaux, Marietta 0/b/o Paul Cunningham
Dedeaux, Tenia

Drake, Wilfred

Draughon, Nora

Dugas, Delrick

Durby, Victoria

Echoles, Angie 0/b/o Joshua Echoles
Enterkin, Arnold

Evans, Sheila o/b/o Derek Evans
Evans, Sheila o/b/o Shelby Evans
Evans, Sheila o/b/o William Evans
Ewing, William

Formica, Anthony

Fowler, Lucy

Gaines, Sheila

Gaines, Sheila o/b/o Anthony Smith
Gaines, Sheila o/b/o Antjuan Smith
Gaines, Sheila o/b/o Raven Gaines
Gallimore, Candy

Gardina, Michelle

Giardina, Danny

Giardina, Loren

Giardina, Mary

Giardina, Ross

Goleman, Rebecca

Griffin, Linda o/b/o Ronnie Griffin
Hanshaw, Willie

Harbin, Bridgette o/b/o Clara Harbin
Harris, Charles

Hatampa, Esther o/b/o Ethan Hainsworth
Havard, Linda

Haynes, Lionel

Ordoyne, Skyler

Passaro, Cheryl

Passaro, Cheryl o/b/o Brittany Dunn
Passaro, Cheryl 0/b/o John Passaro
Passaro, Cheryl 0/b/o Samantha Martin
Pearson, Yvetta

Pearson, Yvetta o/b/o Erion Moore
Pearson, Yvetta o/b/o Nigel Moore
Peters, Myra

Pohlmann, Corey

Pohlmann, Jeffery

Pohlmann, Keely

Pohlmann, Keely o/b/o Amara Pohlmann
Pohlmann, Keely o/b/o Austin Pohlmann
Pohlmann, Laura

Porter, Natasha o/b/o Nykia Porter
Potter, Marybelle

Ragins, Oki

Ragins, Oki 0/b/o Kasie Clayton
Ratliff, Ernest

Ratliff, Joan

Ray, Donovan

Ray, Jeanne

Ray, Patricia

Ray, Patricia 0/b/o Cam'rom Ray
Raymond, Lisa

Riley, Robert

Robbins, Barbara

Roberson, Andrea

Robinson, Leslie o/b/o Ivan Robinson
Ruffin, Breana o/b/o Ashanti Ruffin
Ruffin, Breana o/b/o Deundre Ruffin
Ruffin, Breana o/b/o Tyrek Ruffin
Rusfin, Andre

Rusfin, Leqaya

Ryan, Verna o/b/o Dominic Hall
Schwartz, Tracy 0/b/o David Hill
Seaman, Deborah

Simon, Carlee

Singley, Melissa

Smith, Bertrand

Smith, Donna
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Robert C. Hilliard, Esq.
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10-2184

Henderson, David obo Zackary Henderson

Hoda, Carolyn

Holifield, Danny

Holifield, Darla

Horn, Deborah

House, Norman

Huyah, Ky

Ingram, Keiosha 0/b/o Kalyn Joseph
Ingram, Keisoha 0/b/o Jenae' Ingram
Jackson, John

James, Alberta

James, Early Larry

James, Katona

James, Keith

Johnson, Theresa

Johnson, Theresa o/b/o Ariel Johnson
Johnson, Theresa o/b/o Tianna Lane
Ladner, Billy

Larkin, Carlos

Larkin, Deborah

Leonard, Dezmeon

McCann, Kimberly

McClantoc, Sheila

McConnell, Terry

McCord, Cindy 0/b/o Joseph McCord
McCord, Cindy o/b/o Patrick McCord
McDaniel, Linda

McDaniel, Peggy

McDaniel, Peggy o/b/o Thomas Formica
McDaniel, Richard

McDevitt, Colleen

McInis, Darry]

MeNair, Kimberly

Byron, Gerald v. Forest River
Dawson, Felissia o/b/o Sherman Buckley
Decoux, Karen

Clements, Bernell vy. Forest River
Allen, Elica o/b/o IA.

Anderson, Harold

Antoine, Gerald o/b/o Z.A.

Smith, Douglas & Havalyn obo Aimme Smith
Smith, Douglas o/b/o Katelynne Smith
Sprouse, Andy o/b/o Konner Sprouse
Steddum, Nichole

Stephens, Brenda

Stork, Christopher o/b/o Adrienne Stork
Taylor, April o/b/o B.T.

Thompson, Carolyn

Tran, Uyen

Twilbeck, Gloria

Walker, Erica

Walker, Erica o/b/o Kaitlyn Goff
Walker, Kelly

Ware, Vanessa

Washington, Elizabeth

Wehmeyer, Susan

Wells, Iris

Wescovich, Eli

Wescovich, Linda

Widle, Stacy

Wilkerson, Albert

Willard, Kimberly o/b/o Alec Willard
Willard, Kimberly 0/b/o Logan Gallimore
Williams, Albert

Williams, Maxie

Williams, Ralph

Williams, Stanford

Williams, Tomeika

Wilson, Ronnie

Woods, Bonnie

Wright, Eileen

Young, Brandon

Jones, Torrey

Earl, Yvette 0/b/o B.E.
Earl, Yvette o/b/o M.E.
Gary, Valarie o/b/o J.G.
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Robert C. Hilliard, Esq.
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Antoine, Robert Goodwin, Shirley
Bailey, Heidi Haynes, Mayola
Bailey, Heidi o/b/o A.B. Haynes, Mayola o/b/o L.H.
Bailey, Heidi 0/b/o R.L Malone, Troy
Bardwell, Heather McGowan, Audroy o/b/o J.M.
Bardwell, Laura McGowan, Audroy 0/b/o S.R.
Bardwell, Laura o/b/o B.B. Mitchell, Amanda
Bardwell, Monica Moore, Michelle
Barnes, Alexandria o/b/o A.B. Morel, Harry
Barnes, Alexandria o/b/o B.B. Murphy, Kellie
Barnes, Alexandria 0/b/o K.B. Murphy, Kellie o/b/o Estate of Terry Smith
Bradburry, Linda o/b/o D:S. Murphy, Kellie o/b/o J.S.
Bradburry, Linda 0/b/o L.A. Nolan, Ballard
Brooks, Jennifer Nolan, Robert
Brooks, Jennifer 0/b/o J.B. Nolan, Robert
Brumfield, LaBaron Santiago, Bernard
Carter, McKinley Santiago, Tamika
Clements, Bernell Santiago, Tamika o/b/o E.H.
Cole, LaQuetta Smith, Hubert
Cole, Laquetta o/b/o B.S. Smith, Joseph
Davis, Leonisa Swanson, Linda o/b/o D.E.
Davis, Leonisa 0/b/o J.B. Tran, Lien
Davis, Wade Tran, Linh
Dicks, Christopher Twilbeck, Clarence
Dupuy, Greg Williams, Rudolph
Durbin, Glenda Wilson, Andrew
Earl, Joseph Wilson, Don
Earl, Yvette Wilson, Don o/b/o D.W.

09-7117 Frierson, Shelly v. Vanguard
Bilbo, Jacqueline o/b/o Kaleb Loper Hawkins, Leroy
Bilbo, Jacqueline o/b/o Miah Green Hawkins, Shenea
Frierson, Shelly o/b/o Courtney Barton Hawkins, Shenea o/b/o Jarryd Jacobs
Frierson, Shelly o/b/o Jessica Barton Hawkins, Shenea 0/b/o Justyn Jacobs
Frierson, Shelly 0/b/o Lindsey Barton Seaman, Julie
10-1296 Ratliff, Jasmine v. Vanguard, LLC

Bilbo, Jacqueline
Lacy, Elaine
Moore, Paulette
Paquet, Lori
Ratliff, Andrea

Ratliff, Joseph
Trahan, June
Williams, Michelle
Williams, Michelle o/b/o Michael Williams
Williams, Michelle o/b/o Richard Williams
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GIEGER, LABORDE & LAPEROUSE, L.L.C.

Robert C. Hilliard, Esq.
Kevin W. Gillo, Esq.
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Ratliff, Andrea o/b/o Jordin Ratliff
Ratliff, Jasmine

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Goodley, Bernilla

09-7834 Seaman, Julie v. Vanguard, LLC
McDaniel, Jack

10-2190 Stallworth, Lemuel v. Forest River
Babineaux, Phillip
Bermond, Christopher
Bolden, Charles
Bouie, Leta
Bradbury, Linda
Brooks, Jessica
Burrage, Zanbernia
Carter, Berry
Chan, Quang
Coleman, Pauline
Coleman, Wanda
Coleman, Wanda o/b/o L.C.
Coleman, Wanda o/b/o T.C.
Cu, Karen
Cuevas, Amber
Cuevas, Amber 0/b/o C
Cuevas, Amber o/b/o J.C.
Cuevas, Meghan
Daniels, Jerry
Dauphin, Lucille
DeLeon, Oscar
DeLeon, Sophia
DeLeon, Sophia 0/b/o A.D.
DeLeon, Sophia 0/b/o O.D.
DeLeon, Sophia 0/b/o R.D.
Epps, Deborah
Epps, Mark
Epps, Meagan
Epps, Travis
Fairley, Jocelyn
Fells, Johnny

Williams, Michelle o/b/o Richelle Williams
Williams, Richard

Oliver, Herbert
Webb, Elizabety

Lee, Shondreka

Lewis, Kimberly 0/b/o R.S.
Lewis, Kimberly o/b/o S.S
Manuel, Tammy o/b/o J.M.
Minor, Tammy o/b/o T.M.
Minor, Tammy o/b/o T.M.
Moore, Ruby

Percle, August

Perrin, Judy

Perrin, Watson

Powell, Carleta

Powell, Carleta o/b/o D.R.
Powell, Carleta o/b/o L.P.
Price, Betty

Raine, Emma

Raine, James

Raine, James o/b/o J.R.
Rancifer, Lamonty

Ratliff, Felisha

Ratliff, Felisha o/b/o A.B.
Ratliff, Felisha o/b/o M.R.
Ratliff, Lucious

Rayburn, Travis

Reed, Andrea

Reed, Andrea o/b/o D.R.
Reynolds, Jamie

Scogin, Amanda

Scogin, Rebecca

Scogin, Rebecca 0/b/o J.H.
Scogin, Rebecca 0/b/o J.H.
Sellers, Anthony
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GIEGER, LABORDE & LAPEROUSE, L.L.G,

Robert C. Hilliard, Esq.
Kevin W. Gillo, Esq.

May 2, 2011
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Galmore, Essie

Galmore, Essie 0/b/o A.G.
Galmore, Essie 0/b/o C.G.
Galmore, Essie 0/b/o C.G.
Galmore, Essie o/b/o C.G.
Galmore, Essie 0/b/o J.R.
Galmore, Essie 0/b/o S.G.
Galmore, Kenny
Galmore, Larry

Galmore, Shelia

Godwin, Dwight
Gowland, Kirby

Guyton, Sharon

Guyton, Sharon o/b/o B.G.
Guyton, Tyrell

Guyton, Wesley

Hahn, Holley

Hart, Jeanette

Hecker, Cle'lie

Hecker, Cle'lie o/b/o B.R.
Hecker, Cle'lie 0/b/o J.H.
Hinton, Tommy

Hockett, Shirley

Howell, Pamela 0/b/o K.J.
Hughes, Rusty

Johnson, Herman
Johnson, Jesse

Johnson, Joshuary

Jones, Ozell o/b/o Z.B.
Laneaux, Keoki

Lasy, Sanh

Lasy, Sanh o/b/o J.L.
Lasy, Sanh o/b/o V.L.
Lasy, Soumaly

Lasy, Soumaly

Lasy, Soumaly o/b/o D.L.
Lasy, Soumaly o/b/o J.L.
Lasy, Vixay

Lee, Don

Lee, Don

Lee, Pamela

McGowan, Audroy 0/b/o S.S.

Simmons, Renada
Simmons, Renada o/b/o JS.
Simmons, Renada o/b/o J.S.
Simoneaux, Tracy

Smith, Ben

Somphouk, Bun
Somphouk, Bun o/b/o J.P.
Stagg, Sylvia

Stallworth, Lemuel
Stallworth, Maxine
Stallworth, Seth

Sterling, Monique

Sterling, Monique o/b/o S.S.
Sterling, Monique 0/b/o S.S.
Sterling, Monique 0/b/o S.S.
Sterling, Sean

Stewart, Marvell

Stewart, Marvell o/b/o K.S.
Stewart, Marvell o/b/o K.S.
Taylor, Dorothy

Taylor, Dorothy 0/b/o C.T.
Taylor, Dorothy o/b/o D.T.
Taylor, Dorothy 0/b/o R.T.
Tran, Linh o/b/o V.C.

Tran, Linh o/b/o V.C.

Tran, Linh o/b/o V.T.

Tran, Linh o/b/o V.T.

Tran, Trang

Tran, Trang 0/b/o K.T.
Tuberville, Caffie

Ulrich, Ann

Ulrich, John

Vanderbilty, Eugene
Villareal, Jessica

Vince, Nolan

Walker, Candice
Washington, Bernita
Washington, Bernita
Washington, Joshua
Washington, Joshua o/b/o J.G.
Washington, Kevin
Washington, Kevin
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Robert C. Hilliard, Esq.
Kevin W. Gillo, Esq.

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Minor, Bobby
Minor, Maggie
Minor, Tammy

Strickland, Ruth v. Forest River
Alexander, Augustine

Marshall, Della

Pierre

Salter, Clifford

Salter, Inoka

Vallare, Jemalla vy. Forest River
Galvan, Emma
Galvan, Emma o/b/o Emma Galvan

Walton, Barbara v. Forest River
Adams, Heather

Arceneaux, Courtney 0/b/o Briana Garcia
Arceneaux, Courtney 0/b/o Caitlin Garcia
Arceneaux, Courtney o/b/o Megan Garcia
Arceneaux, Courtney o/b/o Veronica Garcia
Bardwell, David

Bishop, Charles

Bishop, Sandra

Bishop, Sandra 0/b/o Sydney Bishop
Bishop, Sandra o/b/o Taylor Bishop
Blank, Gail

Bosarge, Pamela o/b/o Gregory Bosarge
Boyd, Mark 0/b/o Alexis Boyd

Boyd, Mark o/b/o Demarcus Boyd
Bradicich, Dennis

Branger, Peggy

Cannette, Claire

Carver, Evelyn 0/b/o Johnie Carver
Courteaux, Jody o/b/o Austin, Courteaux
Davenport, Myron

Dillard, William

Esquivel, Beverly o/b/o Cristina Esquivel
Fricke, Lance

Green, Ashley

Green, George

Green, Mary

Watson, Diedre
Williams, Yvonne
Young, Theresa

Salter, Inoka o/b/o Makayla Salter
Salter, Jeanette

Spiehler, Anthony

Spiehler, Pamela

Wilmore, Yvonne

Impson, Jon

Jones, Korridon o/b/o Lucas Jones
Keel, Kelly o/b/o Zack Keel
Ladner, Leah o/b/o Lane Ladner
Ladner, Leah o/b/o Nathan Ladner
Ladner, Leah 0/b/o Shelby Shariley
Ledma, Lulu o/b/o Chelsea Cuevas
Marek, Ruth o/b/o Abbygayle Lemmon
Marek, Ruth o/b/o Dennis Lemmon
McKay, Theresa o/b/o Tianna Lang
Osterholm, Tammy o/b/o Anna Fields
Page, James

Patterson, Rita o/b/o Kaitlyn Patterson
Poillion, Ashley

Rager, Harry

Rothwell, Dorothy

Rothwell, Fredrick

Ruffin, Breana

Ruffin, Robert

Ruffin, Robert

Schwartz, Tracy

Schwartz, Tracy o/b/o Arielle Schwartz
Smith, Donna

Spiers, Regina o/b/o Douglas Spiers
Trotter-Dedeaux, Kathryn obo Chris Burton
Walters, Ruby

Walton, Barbara o/b/o Jeremiah McDowell
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Robert C. Hilliard, Esq.
Kevin W. Gillo, Esq.

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Green, Patricia
Honea, William

Wells-Thompson, Najee v. Forest River

Gasaway, Robert
Ladner, Thomas
Moore, Anna o/b/o M.M.

Wilkerson, Mary v. Forest River
Wilkerson, Mary

Woods, Celestine

Woods, Maurice

Williams, Albert v. Forest River
Acker, Rene o/b/o Jayden Acker

Acker, Rene 0/b/o Maleygh Acker
Adams, Heather o/b/o Gavin Poillion
Adams, Heather 0/b/o Kylee Adams
Adams, Sheronda 0/b/o Mahahia Fairley
Alexander, Rikita o/b/o Marvin Taylor
Alford, Karen 0/b/o Noah Bailey
Alford, Karen 0/b/o Sydni Bailey
Alford, Karen o/b/o Tristin Bailey
Almacker, Derwood

Amacker, Challice

Ambrose, Yashenma o/b/o Aniyah Price
Ambrose, Yashenma o/b/o Ellic Laneaux
Andrews, Mark

Barbazon, Margie o/b/o Andre Barbazon
Bardwell, David

Barnes, Edgar

Barrington, Ross

Beamon, Wilson

Bennett, Carrie o/b/o Kadence Maurigi
Bennett, Pamela o/b/o Courtney Bennett
Bermond, Annette

Bermond, Christopher

Bermond, Christopher 0/b/o Estate of Dalton

Biehl, Jacqueline o/b/o Dylan Biehl
Bilbo, Tally

Brennan, Merle

Bridges, Carvin

Wilson, Casey

Reed, Marry
Wells-Thompson, Najee

Woulard, Tammy
Young, Linda

Ly, Sony

Ly, Yen

Maillet, Aaron o/b/o Allissa Maillet
Mallini, Anthony o/b/o Anthony Mallini
Mallini, Anthony o/b/o Ashley Mallini
Mallini, Anthony obo Katherine Mallini
Martin, Luz

Martin, Percy

McCord, Anastasia

McCord, Cindy

McDevitt, Colleen

McDuffie, Robert

Melton, Michelle o/b/o Sarah Melton
Mitchell, Darlene obo Braleigh Delaney
Mitchell, Katrise

Mitchell, Obadiah

Mitchell, Steven

Moran, Tina o/b/o Kyle Moran
Myers, Terriea 0/b/o Shakayla Mason
Nash, Edan

Nguyen, An

Nguyen, An 0/b/o Amy Nguyen
Nguyen, An o/b/o Andy Nguyen
Nguyen, An o/b/o Tiffany Nguyen
Nguyen, Hong 0/b/o Sarah Nguyen
Nguyen, Men

Nguyen, Tina

Odom, Sylvia 0/b/o Ja'Marion Odom
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Brothern, Valerie

Brothern, Valerie o/b/o Trevor Brothern
Brown, Frances

Brown, Frances o/b/o Nicholas Beard
Brown, Janie

Brown, Sherman

Brown, Sonya

Brown, Sonya 0/b/o Charles Crockett
Brown, Sonya 0/b/o Corbin Crockett
Brown, Stacy

Brown, Vincent

Bui, Tong

Burks, Aarien

Burrage, Willie

Burton, Bobbie

Byrd, Jennifer

Cadwell, Frances

Carbo, Nathan

Collins, Bryant

Collins, Bryant Sr. o/b/o Bryant Collins
Conerly, Bernette 0/b/o Jaden Dillon
Cox, Regena

Crockett, Grace

Crockett, Roosevelt

Cuevas, Chassidy

Cuevas, Chassidy o/b/o Kade Cuevas
Cuevas, Chassidy 0/b/o Kaleigh Cuevas
Cuevas, Damein

Cuevas, Jearlene

Cuevas, Pansy 0/b/o Bryson Cuevas
Cuevas, Prentiss

Cuevas, Theofield

Curtis, James o/b/o Ceyan Curtis
Davis, Carl

DeAngelo, Courtney

DeAngelo, Theresa

Dedeaux, Melissa 0/b/o Ricardo Dedeaux
Delaney, Fara

Duplessis, Antoine

Duplessis, Miranda

Duplessis, Yolanda

Durby, Victoria

Odom, Sylvia 0/b/o Ja'Markus Odom
Pace, Rhonda

Page, Nicole

Page, Nicole o/b/o Maricia Page
Page, Nicole o/b/o Xavion Page
Patton, Dwanna

Patton, T’Chete

Patton, T'Chete 0/b/o Jonathon Patton
Peterson, Laura

Peterson, Laura o/b/o Clint Peterson
Peterson, Laura 0/b/o Danielle Peterson
Peterson, Laura o/b/o Tyler Peterson
Peterson, Steve

Pizzo, Steven

Poindexter, Ingrid

Poindexter, Keith

Poindexter, Keith obo Keeman Poindexter
Poindexter, Keith o/b/o Kennedy Poindexter
Prentiss, Cuevas

Price, Sonja

Price, Sonja o/b/o Nyesha Laneaux
Rainey, Alice o/b/o Carl Rainey
Rainey, Alice o/b/o Isaiah Rainey
Rainey, Carl

Rasco, Maggie o/b/o Khadijah Barber
Reaux, Page

Reaux, Ryan

Reddix, John

Reddix, Pennie

Rieux, Herman

Riley, Kimeta o/b/o Kearston Riley
Roberson, Carolyn

Ruffin, Breana o/b/o Ashanti Ruffin
Ruffin, Breana o/b/o Deundre Ruffin
Ruffin, Breana 0/b/o Tyrek Ruffin
Rusfin, Andre

Rusfin, Leqaya

Salter, Ricky

Salter, Steven

Saucier, Sharon

Saunders, Helen

Saunders, Helen 0/b/o Noah Saunders
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Evans, Sean

Ezell, Danial

Farnior, Sandra

Fleming, Gerald 0/b/o Mason Fleming
Fricke, Cynthia

Gaines, Kenneth

Gaines, Sheba

Garcia, Oscar

Garcia, Theresa

Garcia, Theresa o/b/o Anita Grisham
Gardina, Michelle

Garriga, Evelyn

Gibson, Gayle o/b/o Darryl] Gibson
Green, James

Grego, Lynn

Grego, Lynn o/b/o Joshua Grego
Grego, Lynn o/b/o Paul Grego
Grego, Paul

Griffin, Tranett 0/b/o Ronnie Druce
Hanshaw, Kim 0/b/o Taylor Hanshaw
Harbin, Bridgette 0/b/o Clara Harbin
Hatampa, Esther o/b/o Lauren Evans
Haynes, Yolunda 0/b/o Darius Haynes
Hearndon, Randel

Henderson, David 0/b/o Zackary Henderson
Hill, Brandy o/b/o Alexis Hill

Hill, Brandy o/b/o Xavier Hill
Hillhouse, Brenda

Hillhouse, Eric

Hom, Deborah

Hughes, Geraldine

Hughes, Richard

Huynh, My

Huynh, Phuoc

Isabel, Paula o/b/o Keishaad Womble
Isabell, James

Isabell, Jason

Isabell, Jeff 0/b/o Jarvis Isabell
Isabell, Jeffery

Isabell, Kimberly

Isabell, Paula

Johnson, Abigail

Saurage, Robert o/b/o Aarin Saurage
Saurage, Robert o/b/o Gail Abadie
Saurage, Robert o/b/o Richard Abadie
Scherick, Brandy o/b/o Lilly Thornton
Schlickbernd, Kathy

Schlickbernd, Vincent

Schroeder, Henry

Schwartz, Tracy o/b/o David Hill
Scott, Garval o/b/o Jarrell Arline
Singleton, Danelle o/b/o Alysia Dunklin
Singleton, Danelle o/b/o Armando Singleton
Singley, Summer o/b/o Mackenzie Spaur
Smith, Doug & Havalyn obo Aimme Smith
Smith, Douglas o/b/o Katelynne Smith
Smith, Jasmine

Smith, Jasmine 0/b/o Jeanchristopher Smith
Smith, Nyasha o/b/o Robert Smith
Spell, Jerry

Stephens, Brenda

Stevison, Jannie

Stevison, Jannie o/b/o Gage Stevison
Stockman, Johnny

Stockman, Walter

Strickland, Lionel

Stucke, Clinton

Stucke, Jeannette

Stucke, Jeannette 0/b/o Joshua Delaughter
Sutton, Jamie o/b/o Richard Sutton
Taylor, Marthina o/b/o Recardo Sayja
Thomas-Burton, Corinn 0/b/o Keely Jones
Tillison, Georgia

Tillison, Georgia 0/b/o Gari Tillison
Tillison, Georgia o/b/o Inna Tillison
Tillison, Larry

Tran, Chin

Tran, Chin o/b/o Candice Tran
Tran, Chin o/b/o Christina Tran
Tran, Chin o/b/o Nikki Tran

Tran, Nga

Tran, Tuan

Truong, Em

Verzal, Jerri o/b/o Breana Verzal
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Johnson, Deborah

Johnson, Hannah

Johnson, Mia o/b/o Johnnisha Johnson
Johnson, Peggy

Johnson, Peggy 0/b/o Mark Johnson
Johnson, Peggy o/b/o Paul Johnson
Johnson, Peggy o/b/o Seth Johnson
Johnson, Renee

Johnson, Renee o/b/o Renard Elliot
Johnson, Renee o/b/o Renee Johnson
Johnson, Theresa

Johnson, Theresa o/b/o Ariel Johnson
Johnson, Theresa o/b/o Tianna Lane
Jones, Bobbie

Jones, Phillip

Jordan, Henry o/b/o Henry Jordan
Kitchens, Brenda

Ladner, Lisa o/b/o Ethan Smith
Lam, Hen

Loper, Sarah

Loper, Sarah o/b/o Sharmaine Loper
Ly, Chen

Ly, Chen 0/b/o Brittney Chau

Ly, Chen o/b/o Christopher Chau
Ly, Chen o/b/o Timmy Chau

Young, Rufus v. Forest River
Alexander, Tonya o/b/o A.V.
Alexander, Tonya 0/b/o D.A.
Arceneaux, Andrew o/b/o B.A.
Arceneaux, Andrew o/b/o L.A.
Ashley, Bryan

Baker, Niny 0/b/o Z.B.
Ballard, Christopher o/b/o L.B.
Ballard, Seketha o/b/o C.B.
Bello-Pike, Daphane 0/b/o C.B.
Bennett, Elizabeth o/b/o E.B.
Bennett, Pamela o/b/o J.B.
Biehl, Jacqueline o/b/o B.B.
Biehl, Jacqueline o/b/o M.B.
Blackston, Clarrisa o/b/o D.B.

Verzal, Jerri o/b/o Savannah Verzal
Walker, Erica 0/b/o Kaitlyn Goff
Walkes, Nichole o/b/o Courtney Walkes
Walkes, Nichole o/b/o McKaiya Walkes
Watson, Mary o/b/o Adam Sullivan
Wescovich, Eli

Weston, Danneil 0/b/o D'Shayla Weston
Williams, Albert

Williams, Carzell o/b/o Devin Williams
Williams, Debra

Williams, Debra o/b/o Dontrite Walters
Williams, Gabriel

Williams, Jucinta

Williams, Jucinta o/b/o Takiyah Williams
Williams, Matilde

Williams, Raven o/b/o Ny'Dria Williams
Williams, Unetra

Wills, David

Wilson, Robert

Woulard, Tammy o/b/o Jimmy Amos
Young, Cynthia

Ziegler, Farrell

Zollicoffer, Lakita

Zollicoffer, Lakita o/b/o Kayla Robinson
Zollicoffer, Lakita o/b/o Raven Goins

Neese, Jessica 0/b/o A.N.
Neese, Jessica o/b/o L.N.
Neese, Jessica o/b/o M.N.
Neese, Jessica o/b/o W.N.
Nguyen, Ann o/b/o P.N.
Nguyen, Bich o/b/o A.N.
Nguyen, Bich 0/b/o D.N.
Nguyen, Bich o/b/o J.N.
Nguyen, Bich 0/b/o S.N.
Nguyen, Dung

Nguyen, Gong 0/b/o L.N,
Nguyen, Gong 0/b/o S.N.
Nguyen, Hong o/b/o L.N.
Nguyen, Hong 0/b/o L.N.
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Bonnett, Elizabeth o/b/o T.B.
Booker, Orlanda o/b/o S.B.
Bourg, Tricia o/b/o B.B.
Bourgeois, April o/b/o J.D.
Bourgeois, April o/b/o J.F.
Bourgeois, April 0/b/o L.B.
Bourgeois, April 0/b/o P.B.
Branom, Teresa o/b/o H.B.
Broussard, Clifton o/b/o J.B.
Bui, Bich 0/b/o M.N.
Caraviello, Dorena o/b/o K.C.
Catalanotto, Lisa o/b/o D.W.
Cochran, Amy o/b/o A.C,
Danley, Kristie o/b/o J.D.
Danley, Kristie o/b/o K.D.
Davis, Willie o/b/o J.D.
Davis, Willie 0/b/o M.D.
Dillard, Carleaner o/b/o S.B.
Doan, Dan o/b/o C.N.

Doan, Dan o/b/o I.N.

Duong, Lieu o/b/o A.P.
Feigel, Kimberly 0/b/o K.P.
Feigel, Kimberly 0/b/o M.B.
Feigel, Kimberly o/b/o T.D.
Fleming, Gerald 0/b/o Z.F.
Foster, Rondeshia 0/b/o A.F.
Galloway, Jennifer o/b/o K.G.
Garcia, Kevin o/b/o K.G.
Garry, Kanita o/b/o K.M.

Giavotella, Michele o/b/o L.G.

Goff, Frank o/b/o S.B.

Goff, Luctrecia 0/b/o K.G.
Guy, Jennifer o/b/o W.G.
Harbin, Bridgette o/b/o A.H.
Henderson, Stuart o/b/o R.H.
Hoda, Miranda o/b/o A.H.
Hoda, Miranda o/b/o A.P.
Hoda, Miranda o/b/o B.H.
Hoda, Miranda o/b/o B.P.
Hoda, Miranda o/b/o C.P.
Hood, Harvey o/b/o R.H.

Nguyen, John o/b/o T.N.
Nguyen, Lina o/b/o A.D,
Nguyen, Lina o/b/o D.N.
Nguyen, Long o/b/o S.N.
Nguyen, Nhan 0/b/o V.N.
Odom, Krista o/b/o K.W.
Owenby, Valerie o/b/o D.M.
Pace, Tonya o/b/o J.M.
Pace, Tonya o/b/o T.P.
Parkinson, Lora o/b/o G.P.
Parkinson, Lora o/b/o M.P.
Parkinson, Lora o/b/o S.P.
Patrick, Jeremy o/b/o J.P.
Perks, David o/b/o E.S.
Perks, David o/b/o K.P.
Peterson, Carolyern
Peterson, Christopher 0/b/o B.P.
Phillips, Samantha 0/b/o A.P.
Piot, Pamela o/b/o C.K.

Piot, Pamela o/b/o C.K.
Piot, Pamela o/b/o D.T.
Preston, Lucy 0/b/o D.C.
Preston, Lucy o/b/o K.C.
Preston, Lucy 0/b/o K.M.
Preston, Lucy 0/b/o L.D.
Preston, Lucy o/b/o T.S.
Preston, Lucy o/b/o Z.M.
Pullman, Kayla 0/b/o M.M.
Rainey, Alice

Rasco, Maggie o/b/o C.W.
Rasco, Maggie 0/b/o K.W.
Rasco, Maggie 0/b/o K.W.
Rasco, Maggie o/b/o Z.W.
Rasmussen, Tina 0/b/o J.R.
Ray, Dori 0/b/o S.R.
Richardson, Amanda o/b/o K.R.
Richardson, Amanda o/b/o P.R.
Robbins, Richie 0/b/o Z.Q.
Robinson, Angela o0/b/o D.R.
Robinson, Angela 0/b/o T.R.
Rogers, Cecil 0/b/o E.R.
Rowell, Amber 0/b/o Z.F.
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Hutto, Tammy o/b/o J.M.
Jackson, Arlene 0/b/o Z.T.
Jackson, Darian o/b/o D.J.
Jackson, Darian o/b/o D.J.
Jenkins, Evette o/b/o K.T.
Jenkins, Rose o/b/o A.J.
Jenkins, Rose o/b/o C.J.
Johnson, Brenda o/b/o S.S.
Jones, Shawn o/b/o S.J.

Kendrick, Shoneen o/b/o H.A.
Kendrick, Shoneen o/b/o N.A.

Keppard, Kathy o/b/o K.V.
Keppard, Kathy o/b/o K.V.
Knight, Erika o/b/o J.L.
Ladner, Yolaine

Ladner, Yolaine 0/b/o C.L.
Ladner, Yolaine 0/b/o M.L.

Lafontaine, Kermit o/b/o D.L.
Lafontaine, Kermit o/b/o K.L.

Lafontaine, Kermit o/b/o Z.L.
Lafontaine, Steven 0/b/o J.L.
Lafontaine, Steven o/b/o S.L.
Laneaux, Mary

Lawrence, Mary o/b/o L.L.
Lawrence, Mary o/b/o V.B.
Le, Kim o/b/o K.L.

Martin, Chrystal o/b/o E.M.
Martin, Chrystal o/b/o M.
Martin, Glinda o/b/o V.M.
Mason, Shauna o/b/o A.B.
Mauffray, Lora

Mauffray, Lora o/b/o A.M.
Mauffray, Lora o/b/o J.M.
McDaniel, Ethel

McDaniel, Ethel o/b/o L.A.
McDaniel, Ethel o/b/o L.M.
McDaniel, Tracy o/b/o M.M.
McDaniel, Tracy 0/b/o P.M.
Mclain, Walter o/b/o W.M.
Moffet, Brenna 0/b/o A.S.
Moffett, Brenna 0/b/o H.M.
Moran, Brandy o/b/o E.M.

Rowell, Noel o/b/o J.R.
Saunders, Sharice o/b/o C.W.
Shannon, Ashunda o/b/o J.P.
Shannon, Ashunda o/b/o MLS.
Shannon, Ashunda 0/b/o M.S.
Shipman, Shirley o/b/o KS.
Shipman, Shirley o/b/o KS.
Smith, Jasmine 0/b/o D.S.
Smith, Jasmine o/b/o N.S.
Smith, Kiona 0/b/o T.S.
Smith, Mary o/b/o K.S.
Smith, Mary o/b/o S.S
Sonnier, Patricia o/b/o M.S.
Speir, Stephanie 0/b/o L.S.
Speir, Stephanie 0/b/o MLS.
Spiers, Michael o/b/o M.B.
Spiers, Regina o/b/o M.S.
Swicegood, Dick o/b/o C.S.
Thomas, Melanie o/b/o K.V.
Thomas, Pernice 0/b/o C.T.
Thomas, Pernice 0/b/o M.M.
Thompson, Gatric 0/b/o L.M.
Thompson, Gatrick o/b/o C.S.
Thompson, Gatrick 0/b/o S.T.
Tyler, Debra o/b/o K.T.
Varnado, Teressa 0/b/o K.N.
Vamado, Teressa 0/b/o T.N.
Vaughen, Kerry o/b/o K.V.
Vaughen, Kerry 0/b/o K.V.
Vaughen, Kerry 0/b/o T.R.
Vu, Hue o/b/o V.N.

Walks, Marvin

Walks, Nichole

Watson, Ivy o/b/o A.W.
Watson, Ivy 0/b/o L.W.
Welch, Aimee 0/b/o G.W.
Welch, Aimee 0/b/o T.F.
Wells, Tess 0/b/o H.W.
White, Nikita o/b/o N.W.
Williams, Raven o/b/o D.W.
Williams, Robert 0/b/o R.W.
Williams, Robert o/b/o T.W.
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Moran, Marisa 0/b/o K.S.
Moran, Marisa o/b/o M.M.
Moran, Melissa 0/b/o A.B.
Moran, Tina 0/b/o K.M.
Morgan, Angel o/b/o N.M.
Necaise, Kimberlee 0/b/o D.N.
Necaise, Kimberlee o/b/o D.N.

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Willis, Heather o/b/o J.D.
Willis, Heather 0/b/o V.D.
Yarborough, Sherry 0/b/o K.R.
Young, Katrina o/b/o J.W.
Young, Katrina o/b/o J.W.
Young, Katrina o/b/o J.W.
Zoerner, Deborah o/b/o M.Z.
Zoemer, Katie o/b/o M.G.

Should you have any questions regarding the above, please do not hesitate to contact me.

CWS/fIj

ce Andrew Weinstock
Justin Woods
Dave Kurtz

Cam. SArichl ZL

Carson W. Strickland
